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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

UNITED STATES OF AMERICA,
          Plaintiff,

vs                                                       CASE NO: 3:00CR84-005

NICO FLOYD
           Defendant.
_____________________________________/

                            ORDER REDUCING SENTENCE

          Before the Court is the Government's Rule 35 motion (doc 294) advising that a
reduction in defendant's sentence may be warranted by his continued cooperation and
substantial assistance since his sentencing. Although defendant was originally sentenced as
permitted by Rule 5K1 to a period significantly below the guideline range and the minimum
mandatory mandated sentence, the Court finds that a further reduction is proper to reward his
continued and unusually significant assistance to the Government in the prosecution of
others.
          Defendant's sentence of confinement is, therefore, reduced from 120 months to 68
months. In all other respects, the original sentence imposed by this Court's order filed 2
March 2001 shall remain unchanged.
          ORDERED this 4th day of August 2005.


                                                  s /L.A. Collier
                                                  LACEY A. COLLIER
                                                  Senior United States District Judge
